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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


COMMITTEE ON WAYS AND MEANS,
UNITED STATES HOUSE OF REPRESENTATIVES,
1102 Longworth House Office Building
Washington, D.C. 20515,

                            Plaintiff,

           v.                                         Case No. 1:19-cv-1974

UNITED STATES DEPARTMENT OF
THE TREASURY,
1500 Pennsylvania Avenue N.W.
Washington, D.C. 20220, et al.,

                             Defendants.




                           Exhibit N
                 Case 1:19-cv-01974-TNM Document 1-14 Filed 07/02/19 Page 2 of 2




                                     DEPARTMENT OF THE TREASURY
                                                WASHINGTON, D.C.

SECRETARY OF THE TREASURY




                                                 May 17, 2019


        The Honorable Richard E. Neal
        Chairman
        Committee on Ways and Means
        U.S. House of Representatives
        Washington, DC 20515

        Dear Chairman Neal:

        I write in response to your letter of May 10, 2019, in which you reiterate your request for the
        confidential tax returns (and other return information) of President Trump and related business
        entities, and in which you include a subpoena for the documents you have requested.

        As I explained in my May 6 letter to the Committee, the Department of the Treasury (the
        Department) has consulted with the Department of Justice concerning the lawfulness of the
        Committee's unprecedented request. In reliance on the advice of the Department of Justice, we
        have determined that the Committee's request lacks a legitimate legislative purpose, and
        pursuant to section 6103, the Department is therefore not authorized to disclose the requested
        returns and return information. For the same reasons, we are unable to provide the requested
        information in response to the Committee's subpoena. As I explained in my May 6 letter, the
        Department of Justice has informed us that it intends to memorialize its advice in a published
        legal opinion as soon as practicable.

        In my April 23 letter to the Committee, I offered to work with the Committee to accommodate its
        stated interest in understanding how the IRS audits and enforces the Federal tax laws against a
        President by providing the Committee with additional information on the mandatory audit
        process. I renewed that offer in my May 6 letter. While the Committee's latest letter appears to
        decline these offers because they are "not a substitute" for the President's tax returns, the
        Department's offer would provide information that directly bears upon what the Committee has
        stated to be its legislative interest in this subject. Consistent with the Executive Branch's
        constitutional commitment to accommodation, the Department remains committed to providing
        such an accommodation.

                                                     Sincerely,


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                                                     Steven T. Mnuchin
